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                          UNITED STATES DISTRICT COURT
                          SO UTHERN DISTRICT O F FLO RIDA
                        CASE NO .:16-CR-20840-HUCK -M CALILEY

  UNITED STATES OF AM ERICA,

         Plaintiff,



  ANDY RODRIGUEZ PEREZ,

         Defendant.
                                             /

                 ORDER ADO PTIN G REPORT AND RECOM M ENDATION

         THIS CAUSE com esbefore the Courtupon M agistrate Judge Chris M cAliley's Report
  andRecommendation on Change ofPlea (D.E.110),whichwasissued on M ay 2,2017. lnthe
  Reportand Recom mendation,M agistrateJudgeM cAliley recomm endsthatthe Defendant, Andy
  RodriguezPerez,be found to have freely and voluntarily entered a pleaofguilty to Counts 1and
  2 ofthe Superseding lnformation.(D.E.651. Count1ofthe Superseding Information charges
  the Defendant with conspiracy to possess with intent to distribute a controlled substance -
  specifcally,fifty (50)gramsormore ofmethamphetnmine,and tive hundred (500)gramsor
  more of a mixture and substance containing a detectable amount of m ethnmphetam ine - in
  violation ofTitle21,United StatesCode,Sections841(a)(1),841(b)(1)(A)(viii),and 846.Count
  2 ofthe Superseding Information chargesthe Defendantwith conspiracy to comm itaccessfraud,
  in violation of Title 18,United States Code,Sections 1029(a)(5) and 2. M agistrate Judge
  M cAliley recomm ends that the Defendant's guilty plea be accepted,that the Defendant be
  adjudicated guilty ofthe offenses to which the plea of guilty has been entered,thata Pre-
  Sentence Investigation Reportbe ordered,and thata sentencing hearing be conducted for final
  disposition ofthism atter. The Defendantand the Governmentwere afforded an opporttmity to
  fileobjectionsto the Reportand Recommendation,butnone were filed. Accordingly,having
  reviewed therecord de novo,itishereby

        O RD ER ED A N D A DJU DG ED that M agistrate Judge M cA liley's Report and
  Recommendation on Change ofPlea (D.E.110)isadopted and approved in itsentirety. The
  Defendant's guilty plea is accepted,and the Defendant is adjudged guilty of conspiracy to
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  possess with intentto distribute a controlled substance,in violation of Title 21,United States
  Code,Sections841(a)(1),841(b)(1)(A)(viii),and 846;andconspiracytocommitaccessfraud,in
  violation ofTitle 18,United StatesCode,Sections1029(a)(5)and 2. A sentencing hearing will
  be held before the Honorable Paul C.Huck, at the W ilkie D .Ferguson, Jr. U nited States
  Courthouse,400 North M iamiAve.,13th Floor,Courtroom 13-2,M inm i,Florida,on Friday,
  July 21,2017,at10:30 A.M .
         DO NE AND ORDERED in Cham bersin M iami,Florida this l8th dayofM ay,2017.

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                                                    PAUL C.HU K
                                                    U.S.DISTRICT COURT JUDGE
  CopiesFurnished To:

   A l1CounselofR ecord




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